     Case 2:18-cv-05052 Document 1 Filed 06/07/18 Page 1 of 6 Page ID #:1



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8
                           UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
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11
     STEPHANIE CLIFFORD (AKA                  Case No.
12 STORMY DANIELS), an individual,
13                                            NOTICE OF REMOVAL OF
                 Plaintiffs,                  ACTION UNDER 28 U.S.C. § 1441(b)
14                                            DIVERSITY BY DEFENDANT
15          v.                                MICHAEL COHEN

16 KEITH M. DAVIDSON, an individual,          [Filed concurrently with Civil Cover
                                              Sheet and Notice of Interested Parties]
17 MICHAEL COHEN, an individual, and
     DOES 1 through 10, inclusive,
18                                            Complaint Filed: June 6, 2018
19                 Defendants.
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             NOTICE OF REMOVAL OF ACTION BY DEFENDANT MICHAEL COHEN
     Case 2:18-cv-05052 Document 1 Filed 06/07/18 Page 2 of 6 Page ID #:2



 1         TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and
 3 1446, Defendant Michael Cohen (“Mr. Cohen”) hereby removes this civil action from
 4 the Superior Court of California for the County of Los Angeles, where it is currently
 5 pending as Case No. SC129384, to the United States District Court for the Central
 6 District of California, Western Division.
 7         This Court has original jurisdiction over this action under 28 U.S.C. § 1332(a)
 8 on the grounds that complete diversity exists between all parties and the amount in
 9 controversy exceeds the sum of $75,000, exclusive of interest and costs. Plaintiff
10 Stephanie Clifford a.k.a. Stormy Daniels (“Plaintiff” or “Ms. Clifford”) is a resident,
11 citizen and domiciliary of the State of Texas, Mr. Cohen is a resident, citizen and
12 domiciliary of the State of New York, and Defendant Keith Davidson (“Mr.
13 Davidson”) is a resident, citizen and domiciliary of the State of California.
14                                     BACKGROUND
15         On June 6, 2018, an action was commenced in the Superior Court of the State
16 of California in and for the County of Los Angeles, entitled Stephanie Clifford (aka
17 Stormy Daniels) v. Keith M. Davidson, an individual, Michael Cohen, an individual,
18 and Does 1 through 10, inclusive, as Case Number SC129384 (the “Action”).
19 Pursuant to 28 U.S.C. § 1446(a), a copy of the Complaint is attached hereto as
20 Exhibit 1.
21         Mr. Cohen has not been served with a copy of the Summons or Complaint in
22 the Action. Mr. Cohen is informed and believes that Mr. Davidson has not been
23 served with a copy of the Summons or Complaint in the Action.
24         Plaintiff asserts in the Complaint two causes of action for: (1) Breach of
25 Fiduciary Duty against Mr. Davidson; and (2) Aiding and Abetting Breach of
26 Fiduciary Duty against Mr. Cohen. Plaintiff alleges that Mr. Davidson acted as her
27 attorney throughout the time period at issue in the Complaint. (Complaint, ¶ 8.)
28 Plaintiff further alleges that Mr. Davidson breached his fiduciary duties of loyalty and
                                        -2-
             NOTICE OF REMOVAL OF ACTION BY DEFENDANT MICHAEL COHEN
     Case 2:18-cv-05052 Document 1 Filed 06/07/18 Page 3 of 6 Page ID #:3



 1 to maintain client confidences by engaging “in numerous communications and
 2 concerted action with Mr. Cohen, the purpose of which was not to benefit Ms.
 3 Clifford, but to benefit Mr. Cohen and [Donald] Trump.” (Id., at ¶ 66.) Plaintiff
 4 claims that she “has been damaged by Mr. Davidson’s various breaches in an amount
 5 to be proven at trial, but which exceeds $100,000.” (Id., at ¶ 72.)
 6         Plaintiff alleges that Mr. Cohen aided and abetted Mr. Davidson’s breach of his
 7 fiduciary duties to Ms. Clifford. (Complaint, at ¶¶ 74-82.) Plaintiff claims that she
 8 “has been damaged by Mr. Cohen’s misconduct in an amount to be proven at trial, but
 9 which exceeds $100,000.” (Id., at ¶ 81.) Mr. Cohen denies that he engaged in any
10 wrongful conduct and that Plaintiff suffered any damages as a result thereof.
11                              GROUNDS FOR REMOVAL
12         As set forth more fully below, this Court has subject matter jurisdiction over
13 the Action under 28 U.S.C. § 1332, which confers original jurisdiction of “all civil
14 actions where the matter in controversy exceeds the sum or value of, $75,000,
15 exclusive of interest and costs, and is between … citizens of different States and in
16 which citizens or subjects of a foreign state are additional parties[.]”
17 I.      The Amount-In-Controversy Requirement is Satisfied.
18         The Complaint states that Plaintiff’s damages “are well in excess of
19 $100,000.” (Complaint, ¶ 60; see also ¶¶ 72, 81.) Thus, the amount in controversy in
20 this action exceeds $75,000, exclusive of interest and costs.
21         When removal is sought on diversity grounds, generally “the sum demanded in
22 good faith in the initial pleading shall be deemed to be the amount in controversy.”
23 28 U.S.C. § 1446(c)(2).
24         Because the state court Complaint expressly seeks more than $75,000, removal
25 on the basis of diversity should be allowed unless the amount set forth in the initial
26 complaint was stated in bad faith. Because Plaintiff instituted the case in state court,
27 there is a strong presumption Plaintiff did not inflate the claim to support removal.
28 See St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 290 (1938); Sanchez
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             NOTICE OF REMOVAL OF ACTION BY DEFENDANT MICHAEL COHEN
     Case 2:18-cv-05052 Document 1 Filed 06/07/18 Page 4 of 6 Page ID #:4



 1 v. Monumental Life Ins. Co., 102 F.3d 398, 402 (9th Cir.1996).
 2         Thus, because it is facially apparent from the Complaint that Plaintiff seeks
 3 well more than $75,000, the amount-in-controversy requirement is satisfied, and this
 4 action may be removed to this Court by Mr. Cohen pursuant to the provisions of 28
 5 U.S.C. § 1441(b).
 6 II.     Complete Diversity of Citizenship Exists Between Plaintiff and All
 7         Defendants.
 8         Plaintiff alleges at Paragraph 1 of the Complaint that she “is a resident of the
 9 State of Texas.” Mr. Cohen alleges herein that she is also a citizen and domiciliary of
10 the State of Texas. Nothing in the Complaint suggests otherwise. Mr. Cohen is not
11 aware of any residency, citizenship or domiciliary by Plaintiff in either California or
12 New York at the time of filing of the Complaint.
13         Plaintiff alleges at Paragraph 2 of the Complaint that Mr. Davidson “is a citizen
14 of the State of California.” Mr. Cohen alleges herein that Mr. Davidson is a resident,
15 citizen and domiciliary of the State of California. Mr. Cohen is not aware of any
16 residency, citizenship or domiciliary by Mr. Davidson in either Texas or New York.
17 In fact, as of the date of filing this Notice of Removal, the business address listed by
18 Mr. Davidson with the State Bar of California is located within the County of Los
19 Angeles, State of California.
20         Plaintiff alleges at Paragraph 3 of the Complaint that Mr. Cohen “is a citizen of
21 the State of New York.” Mr. Cohen confirms that he is a resident, citizen and
22 domiciliary of the State of New York.
23         As stated above, Mr. Davidson has not been served with the Summons or
24 Complaint. Thus, Mr. Davidson’s joinder or consent to this removal is unnecessary.
25 See 28 U.S.C. § 1446(b)(2)(A).
26         The Complaint also names Doe Defendants “1 through 10.” (Complaint, ¶ 5.)
27 For purposes of removal, however, “the citizenship of defendants sued under fictitious
28 names shall be disregarded.” 28 U.S.C. § 1441(b)(1). Therefore, the inclusion of
                                        -4-
             NOTICE OF REMOVAL OF ACTION BY DEFENDANT MICHAEL COHEN
     Case 2:18-cv-05052 Document 1 Filed 06/07/18 Page 5 of 6 Page ID #:5



 1 “Doe” defendants in the Complaint has no effect on removability. In determining
 2 whether diversity of citizenship exists, only the named defendants are considered.
 3 See Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-691 (9th Cir. 1998); see also
 4 Olive v. Gen. Nutrition Ctrs., Inc., No. 2:12-cv-04297-ODW, 2012 WL 2006389, at
 5 *1 (C.D. Cal. June 5, 2012); Marsikyan v. Porsche Cars N. Am., Inc., No. CV 11-
 6 09411 SJO, 2012 WL 280585, at *2 (C.D. Cal. Jan. 30, 2012).
 7 III.    The Other Prerequisites for Removal Are Satisfied.
 8         This Notice of Removal is timely filed. The relevant statute provides that
 9 “[e]ach defendant shall have 30 days after receipt … of the initial pleading … to file
10 the notice of removal.” 28 U.S.C. § 1446(b)(2)(B). Plaintiff filed the Complaint with
11 the state court on June 6, 2018. Neither of the named defendants has been served
12 with a copy of the Summons or Complaint, as of the date of the filing of this Notice of
13 Removal.
14         This action is properly removed to the United States District Court for the
15 Central District of California, Western Division, which is “the district and division
16 embracing the place where [the] action is pending.” 28 U.S.C. § 1441(a); see also 28
17 U.S.C. § 84(c)(2) (listing the counties within the Western Division of the Central
18 District of California).
19         28 U.S.C. § 1446(a) requires a copy of all process, pleadings, and orders served
20 upon the removing defendant in the state court action (Case No. SC129384) to be
21 included with this Notice of Removal. Mr. Cohen has not been not served with any of
22 the papers. However, the Complaint is widely available on the Internet, including at
23 the following URL: http://media1.s-nbcnews.com/i/today/z_creative/
24 FiledComplaint.pdf.
25         Pursuant to 28 U.S.C. § 1446(d), a Notice to Adverse Party of Removal to
26 Federal Court, attached hereto as Exhibit 2, together with this Notice of Removal,
27 will be served upon counsel for Plaintiff and Mr. Davidson, and will be filed with the
28 clerk of the Superior Court for the County of Los Angeles.
                                        -5-
             NOTICE OF REMOVAL OF ACTION BY DEFENDANT MICHAEL COHEN
     Case 2:18-cv-05052 Document 1 Filed 06/07/18 Page 6 of 6 Page ID #:6



1          By filing this Notice of Removal, Mr. Cohen does not waive his right to object
2 to jurisdiction over the person, or venue, and specifically reserves the right to assert
3 any defenses and/or objections to which he may be qualified to assert.
4          If any question arises as to the propriety of the removal of this action, Mr.
5 Cohen respectfully requests the opportunity to submit briefing and oral argument and
6 to conduct discovery in support of his position that subject matter jurisdiction exists.
7
8 Dated: June 7, 2018                     BLAKELY LAW GROUP
9
10                                        By: /s/ Brent H. Blakely
                                              BRENT H. BLAKELY
11                                           Attorneys for Defendant
12                                           MICHAEL COHEN
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             NOTICE OF REMOVAL OF ACTION BY DEFENDANT MICHAEL COHEN
